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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
Joshua Winer,
             Plaintiff,
                                                   Case No. 1:25-CV-02329
v.

Umaymah Mohammad, AJP Educational
Foundation, Inc. A/K/A American Muslims
for Palestine, WESPAC Foundation, Inc.,
Sean Eren as the representative of National
Students for Justice in Palestine, Doctors
Against Genocide Society, CAIR-Nga Inc.
A/K/A CAIR-Georgia, CAIR Foundation
Inc., A/K/A Council on Islamic Relations or
CAIR, Rupa Marya, Ibrahim Jouja as
representative of Emory Students for Justice
in Palestine.
             Defendants.


        DEFENDANT CAIR-NGA, INC.’S MOTION TO DISMISS
           PLAINTIFF’S FIRST AMENDED COMPLAINT
      Defendant CAIR-Nga, Inc., A/K/A CAIR-Georgia, through its undersigned
counsel, for the reasons set forth in the accompanying Brief in Support, respectfully
moves this Court for an order dismissing Plaintiff’s First Amended Complaint for

failure to state a claim upon which relief can be granted.

      Respectfully submitted this 27th day of June, 2025.

                                       BUCHALTER APC

                                       /s/ Amanda G. Hyland
                                       Amanda G. Hyland

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            CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

      I HEREBY CERTIFY that the foregoing document was prepared in Times

New Roman, 14-point font, as approved by Local Rule 5.1.

                                    /s/ Amanda G. Hyland
                                    Amanda G. Hyland
                                    Georgia Bar No. 325115

                                    Attorney for Defendant CAIR-Georgia




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